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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION


CHARLESETTA WILLIAMS                                     CASE NO. 5:21-CV-03799

VERSUS                                                   JUDGE TERRY A. DOUGHTY

STEVE PRATOR, ET AL                                      MAG. JUDGE MARK L. HORNSBY


                                            JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS ORDERED, ADJUDGED, AND DECREED that this civil action be

DISMISSED WITH PREJUDICE for failure to state a claim on which relief may be granted.

        IT IS FURTHER ORDERED that the Clerk of Court be ordered to decline to file any

civil complaint submitted by Charlesetta Williams unless the complaint has been presented

first to a district judge of this court and the judge has specifically authorized in writing that the

complaint may be filed. It is also ordered that any motion to proceed in forma pauperis that

accompanies such a complaint be referred to a district judge for action.

        Monroe, Louisiana, this 3rd day of December, 2021.



                                                        _____________________________________
                                                         TERRY A. DOUGHTY
                                                         UNITED STATES DISTRICT JUDGE
